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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

Clinton Parks, Individually,
Plaintiff,
V. Case No.
South Coast Investment Properties LLC, A
Foreign Limited Liability Company,
d/b/a Harmony Plaza,

Defendant.
/

COMPLAINT
(Injunctive Relief Demanded)

Plaintiff, Clinton Parks, Individually, on his behalf and on behalf of all other individuals
similarly situated, (sometimes referred to as “Plaintiff’), hereby sues the Defendant, South Coast
Investment Properties LLC, A Foreign Limited Liability Company, d/b/a Harmony Plaza,
(sometimes referred to as “Defendant”), for Injunctive Relief, and attorney’s fees, litigation
expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.
(“ADA”).

i Plaintiff is a resident of Pasco County, is sui juris, and qualifies as an individual with
disabilities as defined by the ADA. Plaintiff suffers from Chronic Obstructive
Pulmonary Disease and is unable to engage in the major life activity of walking to
long distances without losing breath. As a result, Plaintiff often ambulates with a
wheelchair. Plaintiff requires accessible handicap parking spaces located closet to the
entrances of a facility. The handicap and access aisles must be of sufficient width so

that he can embark and disembark from a vehicle. Routes connecting the handicap
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spaces and all features, goods and services of a facility must be level, properly
sloped, sufficiently wide and without cracks, holes or other hazards that can pose a
danger of tipping, catching wheels or falling. These areas must be free of obstructions
or unsecured carpeting that make passage either more difficult or impossible.
Amenities must be sufficiently lowered so that Plaintiff can reach them. When in a
wheelchair, he requires that sinks have unwrapped pipes, as such pose a danger of
scraping or burning his legs. Sinks must be at the proper height so that he can put his
legs underneath to wash his hands. He requires grab bars both behind and beside a
commode so that he can more easily transfer and he has difficulty reaching the flush
control if it is on the wrong side. He has difficulty getting through doorways if they
lack the proper clearance.

2 Plaintiff is an advocate of the rights of similarly situated disabled persons and is a
"tester" for the purpose of asserting his civil rights and monitoring, ensuring, and
determining whether places of public accommodation and their websites are in
compliance with the ADA.

3. According to the county property records, Defendant owns a place of public
accommodation as defined by the ADA and the regulations implementing the ADA,
28 C.F.R. 36.201(a) and 36.104. The place of public accommodation that the
Defendant owns is known as Harmony Plaza, and is located at 11838-11932 US Hwy

19, Port Richey, FL 34667, in the County of Pasco.
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Venue is properly located in the Middle District of Florida because venue lies in the
judicial district of the property situs. The Defendant’s property is located in and does
business within this judicial district.

Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given
original jurisdiction over actions which arise from the Defendant’s violations of Title
Ill of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28
U.S.C. § 2201 and § 2202.

As the owner of the subject premises, Defendant is required to comply with the
ADA. To the extent the property, or portions thereof, existed prior to January 26,
1993 ("pre-existing facility"), the owner, lessor, lessee, or operator has been under
a continuing obligation to remove architectural barriers at that property whose
removal was readily achievable, as required by 42 U.S.C. Section 12182. To the
extent that the property, or portions thereof, were constructed prior to January 26,
1993 ("newly constructed facility"), the owner, lessor, lessee, or operator was under
an obligation to design and construct such facilities such that they are readily
accessible to and usable by individuals with disabilities, as required by 42 U.S.C.
Section 12183. To the extent that the facility, or portions thereof, were altered in a
manner that affects or could affect its usability ("altered facilty"), the owner, lessor,
lessee, or operator was under an obligation to make such alterations in such a
manner that, to the maximum extent feasible, the altered portions are readily

accessible to and usable by persons with disabilities.
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Pursuant to 28 C.F.R. part 36.404, all newly constructed facilities were required to

comply with the Standards For New Construction And Alterations, set forth in

Appendix A to 28 C.F.R. part 36 ("ADAAG"). Pursuant to 28 C .F.R. part 36.404,

all altered facilities were required to comply with the ADAAG to the maximum

extent feasible. Pursuant to 28 C.F.R. part 36.304, all measures taken to comply with
barrier removal requirements of 42 U.S.C. Section 12182 must also comply with the

ADAAG to the maximum extent feasible. Failure to comply with these requirements

constitutes a violation of the ADA.

A preliminary inspection of the property has shown that violations exist. These

violations include, but are not limited to:

i. Defendant fails to adhere to a policy, practice and procedure to ensure that all
goods, services and facilities are readily accessible to and usable by the
disabled.

il. Defendant fails to maintain its features to ensure that they are readily
accessible and usable by the disabled.

iii. There is a lack of compliant, accessible route connecting the disabled parking
spaces with all the goods, services and facilities of the property, with non-
compliant curb approaches, non-compliant ramps, abrupt changes in level,
uneven ground surfaces, hazards on ground surfaces, broken or cracked
pavement/concrete, obstructions, narrow or blocked passageways, lack of

sufficient maneuvering space, lack of required clear floor spaces,
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inaccessible merchandise, narrow merchandise aisles, unsecured floor
mats/carpeting,

Some of the curb ramps intrude into the access aisle, rendering them unlevel.
The side flares are excessively sloped.

There is an insufficient number of compliant parking spaces and access
aisles, with faded markings, missing access aisles, excessive slopes, abrupt
changes in level, uneven ground surfaces, hazards on ground surfaces, broken
or cracked pavement/concrete.

There are non-compliant restrooms, with insufficient maneuvering space,
lack of required clear floor spaces, inaccessible commodes, lack of compliant
grab bars, missing grab bars, obstructions,

In the Happy Heads Hair Salon, the restroom is inaccessible because there is
insufficient floor space to enter. There is an unsecured floor mat. The
transaction counter is too high. The commode and sink are inaccessible
because of insufficient maneuvering space and missing grab bars. The flush
control is on the wrong side. The sink pipes are unwrapped.

In the Big Lots, the restroom is missing a rear grab bar. The sink is obstructed
by atrash can. Some of the merchandise aisles are obstructed by merchandise
displays.

In the Dollar General, some of the merchandise aisles are obstructed by

displays. There are unsecured floor mats.
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On May 27, 2019, Plaintiff visited the property which forms the basis of this lawsuit
and plans to return to the property to avail himself of the goods and services offered
to the public at the property, and to determine whether the property has been made
ADA compliant. These barriers discriminate against Plaintiff on the basis of his
disability.

Plaintiff is an advocate of the rights of similarly situated disabled persons and is a
"tester" for the purpose of asserting his civil rights and monitoring, ensuring, and
determining whether places of public accommodation are in compliance with the
ADA.

The violations present at Defendant's facility, create a hazard to Plaintiff's safety.
Plaintiff intends to return to the property in the near future, but is continuously aware
of the violations at Defendant's facility and is aware that it would be a futile gesture

to return to the property as long as those violations exist unless he is willing to suffer

additional discrimination.

The violations present at Defendant's facility infringe Plaintiff's right to travel free
of discrimination. Plaintiff has suffered, and continues to suffer, frustration and
humiliation as the result of the discriminatory conditions present at Defendant's
facility. By continuing to operate a place of public accommodation with
discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and
segregation and deprives Plaintiff the full and equal enjoyment of the goods, services,
facilities, privileges and/or accommodations available to the general public. By

encountering the discriminatory conditions at Defendant's facility, and knowing that
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it would be a futile gesture to return unless he is willing to endure additional
discrimination, Plaintiff is deprived of the meaningful choice of freely visiting the
same accommodations readily available to the general public and is deterred and
discouraged from additional travel. By maintaining a public accommodation with
violations, Defendant deprives plaintiff the equality of opportunity offered to the
general public. The harm suffered by Plaintiff constitutes a present, continuous and
ongoing injury.

Plaintiff has suffered, presently suffers and will continue to suffer direct and indirect
injury as a result of the Defendant’s discrimination until the Defendant is compelled
to comply with the requirements of the ADA.

Plaintiff has a realistic, credible, existing and continuing threat of discrimination
from the Defendant’s non-compliance with the ADA with respect to this property
as described but not necessarily limited to the allegations above. In addition to the
fact that Plaintiff suffers ongoing and present injury, Plaintiffhas reasonable grounds
to believe that he will continue to be subjected to discrimination in violation of the
ADA by the Defendant. Plaintiff desires to visit the property not only to avail
himself of the goods and services available at the property but to assure himself that
this property is in compliance with the ADA so that he and others similarly situated
will have full and equal enjoyment of the property without fear of discrimination.

Plaintiff intends to revisit the facility in the near future, not to be later than 8 months

from the present date.
 

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The Defendant has discriminated against the Plaintiff by denying him access to, and
full and equal enjoyment of, the goods, services, facilities, privileges, advantages
and/or accommodations of the subject property, as prohibited by 42 U.S.C. § 12182
et seq.

The discriminatory violations described above are not an exclusive list of the
Defendant’s ADA violations. Plaintiff requires the inspection of the Defendant’s
place of public accommodation in order to photograph and measure all of the
discriminatory acts violating the ADA and all of the barriers to access. The Plaintiff,
and all other individuals similarly situated, have been denied access to, and have been
denied the benefits of services, programs and activities of the Defendant’s buildings
and its facilities, and have otherwise been discriminated against and damaged by the
Defendant because of the Defendant’s ADA violations, as set forth above. The
Plaintiff and all others similarly situated will continue to suffer such discrimination,
injury and damage without the immediate relief provided by the ADA as requested
herein. In order to remedy this discriminatory situation, the Plaintiff requires an
inspection of the Defendant’s place of public accommodation in order to determine
all of the areas of non-compliance with the Americans with Disabilities Act.
Defendant has discriminated against the Plaintiff by denying him access to full and
equal enjoyment of the goods, services, facilities, privileges, advantages and/or
accommodations of its place of public accommodation or commercial facility in
violation of 42 U.S.C. § 12181 et seg. and 28 CFR 36.302 et seq. Furthermore, the

Defendant continues to discriminate against the Plaintiff, and all those similarly
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situated by failing to make reasonable modifications in policies, practices or
procedures, when such modifications are necessary to afford all offered goods,
services, facilities, privileges, advantages or accommodations to individuals with
disabilities; and by failing to take such efforts that may be necessary to ensure that
no individual with a disability is excluded, denied services, segregated or otherwise
treated differently than other individuals because of his/her disability.

Plaintiff is without adequate remedy at law and is suffering irreparable harm.
Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205

and 28 CFR 36.505.

Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff
Injunctive Relief, including an order to require the Defendant to alter the property to
make those facilities readily accessible and useable to the Plaintiff and all other
persons with disabilities as defined by the ADA; or by closing the facility until such

time as the Defendant cures its violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

a.

The Court issue a Declaratory Judgment that determines that the Defendant at the
commencement of the subject lawsuit is in violation of Title III of the Americans
with Disabilities Act, 42 U.S.C. § 12181 et seq..

Injunctive relief against the Defendant including an order to make all readily
achievable alterations to the facility; or to make such facility readily accessible to and

usable by individuals with disabilities to the extent required by the ADA; and to
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require the Defendant to make reasonable modifications in policies, practices or
procedures, when such modifications are necessary to afford all offered goods,
services, facilities, privileges, advantages or accommodations to individuals with
disabilities; and by failing to take such stops that may be necessary to ensure that no
individual with a disability is excluded, denied services, segregated or otherwise

treated differently than other individuals because of the absence of auxiliary aids and

services.

C: An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.
§ 12205.

d. Such other relief as the Court deems just and proper, and/or is allowable under

Title III of the Americans with Disabilities Act.

Respectfully Submitted,

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